Case 0:00-cr-06181-PCH Document 85 Entered on FLSD Docket 01/29/2001 Page 1 of 2

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(NITED STATES DISTRICT COURT aM nn
SOUTHERN DISTRICT OF FLORIDA a
MIAMI DIVISION 01 N25 AM 2 38
CASE NUMBER 00-6181-CR-HUCK ee g20%
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UNLTED STATES OF AMERICA

Plaintitl,

MICHAEL PULLER.

Defendant

Dear. Patricia Borah

Lam in receipt of the Presentence Report regarding my chent, Michael tuller Lam requesting
by this letter that the Report be changed to reflect the following objections.

{ Part A The Offense, Offense Level Computation Para. (25): The Detendant objects to his
role assessment as being equal to Henry McFlicker and John Raffa. The Defendant submits that
pursuant to 38B{ 2 a three Jevel departure is warranted based upon Michael Fuller's involvement.
The PSI states that the original target of this entire investigation was Henry Harry “ictlicker. Mr
McFlicker then directed inv estivators to John Ratta. Henry McFlicker explicitly vouched tor John

Ratfa He stated that John Ralf could be wusted completely in their criminal cater rprise. This
evidences both Henry McFlicker’s and John Raffa’s heightened criminal knowledge and experience.
MePheker could not vouch for Michael Fuller since he had absolutely no knowledge of him, |
evidencing Michael Fuller's utter lack of criminal experience This lack of knowledge was
corroborated based upon his statement to investigators that he was going 1o recuesi the help of others
i order to trv to accomplish the offense

The PSP corroborates that the only reason Michael lullerever became involved in this offense
was due to John Raffa s akempting to help Michael Fuller pay for his wife's medica! expenses. A
minimal role reduction ts to be determined by comparing the conduct ofco-particioats The relevant
comparison for this reduction is: the conduct of the co-participants in the case at hand A minimal
participant finding can exist even if the defendant had something more than a complec absence of
understanding of ‘the offense U5 S_v. Petti 973 F.2d 1441 (9" Cir. 1992). Where a defendant has a
clearly inadequate understanding of the criminal offense compared to that of his cO-participants it is
indicative ofa minor or minimal role in the offense. U.S. v. Moeller 80 F 3d 1053 (8" Cir. 1996). The
Detense submits that based upon the investigation both Henry McFlicker and John Ratta exhibited
a much greater Knowledge and iy olvement than Michael Euller

 

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2 Part A The Offense, Offense Level Computation, Para. (30) The Defendant objects to
the application of a two level increase: Commentary in §2S1.2 states he increase would require
evidence showing specific Know ledge as to where the proceeds originated from. not mere! that they
were criminally derived ‘This increase is not warranted especially in ‘light ofthe explicitly agreed upon

recommendation of both the | S Government and the Defendant in its plea cgreement.

3. ParLA The Ottense. Otlense Level Computation , Para (34): The Defense submits that
based on the. foregoing the Potal Offense level is 14 3

 

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Case 0:00-cr-06181-PCH Document 85 Entered on FLSD Docket 01/29/2001 Page 2 of 2

4 Part A The Offense. Offense Level Computat: on, Para. (37). The Defense submits that

based on the foregoing the Total Offense level is 11

§ Part B Defendant s Criminal History, Para. (4G & 41): The Defendant admits that there was
an argument between him and his sister but vehemently denies the severity of the argument and that
he slashed anv tires evidenced bs the fact that all charges were eventually dropped

 

o6.Part D. Sentencing Opuons, Guideline Provisions, Para_(11) Based on the objections made
above. it is submitted that the Defendant's base offense level of 11, together with a criminal history
catevory of T, results in a guideline imprisonment range of 8-14 months

7 ParcE. Factors That \lay Warrant A Departure, Para. (85): The Defense subnnts the there
exists three grounds for departure in addition to a §SK 1.1. The grounds relied upon by the Defense
tora departure are the following §S5K2 0, §$K2.12 (Coercion and Duress), and §5K2 20(Aberrant
Criminal Behavior)

The Defense submits that the background of this case warrants that it be considered outside
of the heartland of cases covered by this guideline. The Defendant lived a completely law-abiding
life prior to this instant offense tle has not ben involved in any type of criminal! activity. [is wife of
l4 vears sutfers trom a degenerative condition due to a stroke and has suffered from heart attacks
and pneumonia which currently leaves in a nearly vegetative state. She is utterly incapable of caring
for herself She has been continually hospitalized since succumbing to this condition. Mr Vuller has
constantly visited or attempted to care for his wife. He ts nowerless to do anything to help his wite’s

condition and has had to see his wite physically deteriorate before his eyes. In addition to the extreme
psychological pain and anguish w hich comes with such an event, comes financial hardships. Mr. Fuller

had the real possibility that his wite would not receive adequate medical care for lack of money due
to problems with Mr. Fuller's insurance carrier. Again, the only reason that Mr. Fuiler ever became
involved was due to the fact that John Raffa was hoping to help Mr. Fuller pay for his wife's medical
expenses Mr Fuller's utter lack of knowledge as to how io commit the crime he was arrested for
evidences not only the aberrant nature of this act but also the extremes one would go to help a loved
one. After his arrest Mr Fuller made an immediate and complete disclosure and ts tully cooperating
with authorities

Pursuant to the Federal Sentencing guidelines the Defense submits that the three above cited
sections are appropriate for departure in this case. As noted the background of this case places it
outside the heartland of cases guidelines. In addition, Mr. Fuller was suffering tron: extreme
emotional duress due to his wife's medical condition. Lastly . Mr. Fuller also falls squarely under
§SK2 201 Aberrant Behavinr) departure This offense constitutes a single criminal occurrence which
was committed without sianiticant planning which was of limited ‘duration and was a marked
deviation by the defendant from an otherwise law-abiding life. When considering the factors explicitly
noted in this section such as Mer Fuller's mental and emotional condition his motivation for
committing the offense and his ctforts to mitigate the offense its appropriateness becomes even more
apparent

WHEREFORE based on the foregoing, the Defendant respectfully request the above-noted
exceptions to be calculated in Michael Fuller's Presentence Investigation.

Respectfully submitted
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